                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                1:11-cv-265-RJC

WILLIAM ANDREW LITTLETON,           )
                                    )
                  Plaintiff,        )
                                    )
vs.                                 )             PRETRIAL ORDER AND CASE
                                    )             MANAGEMENT PLAN
SID HARKLEROAD, et al.              )
                                    )
                                    )
                  Defendants.       )
___________________________________ )


       IN ACCORDANCE WITH the Local Rules of the Western District of North Carolina

and pursuant to Rule 16 of the Federal Rules of Civil Procedure, the undersigned enters the

following Pretrial Order and Case Management Plan in this matter.


                               DEADLINES AT A GLANCE

           Discovery Completion:                  September 15, 2013
           Dispositive Motions:                   October 15, 2013




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                                      I. DISCOVERY

A.   DISCOVERY GUIDELINES: Discovery in this case is limited as follows: Each party

     may propound no more than 20 interrogatories, including subparts; no more than 20

     requests for admission, and take no more than 6 depositions of non-expert witnesses.

B.   RESPONSES TO INTERROGATORIES AND REQUESTS FOR ADMISSION:

     Every response to an interrogatory or request for admission, and every objection thereto,

     shall be preceded by the original number and complete text of the corresponding

     interrogatory or request for admission.

C.   THE MAINTENANCE OF DISCOVERY MATERIALS: Discovery materials are

     NOT to be filed prior to the filing of dispositive motions. All parties are advised to

     consult the local rule which provides that while depositions, interrogatories, and requests

     for admission, and responses thereto, must still be served on all parties, they are no longer

     to be filed unless upon order of the Court.          The parties are responsible for the

     preservation of any and all discovery materials they may generate.

D.   PROTECTIVE ORDERS: Any objections made to discovery requests shall be

     accompanied by a draft proposed protective order if such order is, or will be, requested.

     When parties submit proposed protective orders, they shall include a provision leaving

     the ultimate disposition of protected materials subject to a final order of the Court on the

     completion of litigation.

E.   DISCOVERY COMPLETION: All discovery shall be complete no later than

     September 15, 2013. Supplementations per Rule 26(e) shall be due within thirty (30)

     days after obtaining applicable information. Parties are directed to initiate discovery

     requests and notice or subpoena depositions sufficiently in advance of the discovery




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     completion deadline so as to comply with this Order. Discovery requests that seek

     responses or schedule depositions after the discovery completion deadline are not

     enforceable except by order of the Court for good cause shown. The parties may consent

     to extensions of the discovery completion deadline so long as any such extension expires

     not later than ten (10) days prior to scheduled trial time. If a party requests an extension

     of time to respond to discovery requests or to extend the discovery deadline, the result of

     consultation with the opposing party must be stated in the motion.

                                        II. MOTIONS

A.   DISPOSITIVE MOTIONS DEADLINE: All motions except motions in limine and

     motions to continue shall be filed no later than October 15, 2013. Parties may not extend

     this deadline by agreement and stipulated extensions of the completion of discovery do

     not extend the Motions Deadline.

B.   MOTIONS HEARINGS: Hearings on motions ordinarily will be conducted only when

     the Rules require a hearing, when the papers filed in support of and in opposition to the

     motion do not provide an adequate basis for decision, or at the request of a party and

     when the Court determines it would aid the decisional process. All motions requiring a

     hearing will be heard as soon as is practical. The Clerk will notify all parties as far in

     advance as possible of the date and time set for the hearing.

C.   MEMORANDA IN SUPPORT OF MOTIONS: Every motion shall include, or be

     accompanied by, a brief written statement of the facts, a statement of the law, including

     citations of authority and the grounds on which the motion is based. Motions not in

     compliance with this Order are subject to summary denial.


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D.   RESPONSES AND REPLIES: Unless either party is allowed additional time by

     separate Court Order, responses to motions, if any, must be filed within fourteen (14)

     days of the date on which the motion is filed. Replies to responses, if any, must be filed

     within seven (7) days of the date on which the response is filed. Pursuant to Rule 6(e) [of

     the Rules], when a party serves a motion or response by any manner, the respondent shall

     have an additional three (3) days to file a response or reply.

E.   ENLARGEMENT OF TIME: If parties need more than fourteen (14) days to file a

     response or seven (7) days to file a reply, a motion for extension of time shall be filed,

     accompanied by a proposed order. The moving party must show consultation with

     opposing party regarding the requested extension and must notify the Court of the views

     of opposing party on the request. If a party fails to make the requisite showing, the Court

     may summarily deny the request for extension.

F.   MOTIONS TO COMPEL: A motion to compel must include a statement by the movant

     that the parties have conferred in good faith in an attempt to resolve the dispute and are

     unable to do so. Consistent with the spirit, purpose, and explicit directives of the Federal

     Rules of Civil Procedure and the Local Rules of the Western District of North Carolina,

     the Court expects all parties (and counsel) to attempt in good faith to resolve discovery

     disputes without the necessity of court intervention. Failure to do so may result in

     appropriate sanctions.




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                      III. SANCTIONS FOR FAILURE TO COMPLY
                             WITH THE PRETRIAL ORDER

       Failure to comply with any of the provisions of this Order which causes added delay or

expense to the Court may result in the imposition of sanctions as provided by the Federal Rules

of Civil Procedure.




                                            Signed: May 17, 2013




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